Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 1 of 19




                EXHIBIT E
          Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 2 of 19
                                                                                             1


                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 (Northern Division)


BALTIMORE COUNTY BRANCH OF THE
NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE,
et al.,                                           Civil Action No. 1:21-cv-03232-LKG
                  Plaintiffs,

          v.

BALTIMORE COUNTY, MARYLAND,

et al.,



                  Defendants.



           SUPPLEMENTAL DECLARATION OF DR. JAMES G. GIMPEL, PHD.

          1.   This supplemental declaration assesses the map redrawn and submitted by the

Baltimore County Council (the “Council”) in accordance with the February 22, 2022, Order of the

United States District Court of Maryland granting a preliminary injunction directing that the

Council “…create a County redistricting plan that includes either an additional majority-Black

County District, or an additional County District in which Black voters otherwise have an

opportunity to elect a representative of their choice.” (Memorandum Opinion and Order, 22-23,

Baltimore County Branch of the NAACP v. Baltimore County, Maryland. Civil Action No. 21-cv-

03232-LKG, February 22, 2022).

          2.   The County’s proposed redistricting map focuses on the adoption of a new

councilmanic district map that would enlarge the Black and minority population of a district on



                                              1
        Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 3 of 19
                                                                                                    2


the western side of the County (District 2), adjacent to the present majority-Black district (District

4) (see Figure 1). This map is the product of the Councilmembers’ considered policy choices.

       3.       By redrawing the district lines as described below, the proposed map creates an

additional County District that would provide Black voters a meaningful opportunity to elect

representatives of their choice. Specifically, District 2’s would become an even stronger crossover

or coalition district in which Black voters could elect their candidates of choice, including Black

candidates, with crossover support from both other minority voters and White voters.

       4.      This new proposed map would also comply with the requirements of the Voting

Rights Act and with other applicable statutory and constitutional requirements.

I.     Proposed Changes.

       5.      An arrow on the map on the right of Figure 1 (below) indicates a highly populated

area of the County that would be moved from District 4 to District 2. A small section of District

1 would also be moved to District 2 in this same area (north of Windsor Mill Road inside I-695 to

Gwynn Oak Avenue).

        6.     Across the entire map, the proposed changes are most visibly summarized in the

shaded areas of Figure 2 (below). Given the unusual geography of the County, and its division

into 7 districts, significant changes to one district inevitably require changes to a number of the

remaining districts.    District 7, the area most remote from Districts 1 and 2 would remain,

unaltered from the original plan adopted by the Council.




                                                  2
        Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 4 of 19
                                                                                                  3




Figure 1. Original Districts and Newly Proposed Map Districts for Baltimore County,
Maryland, March 2022.



        7.     To rebalance for population changes wrought mainly in the western area indicated

in Figure 1, the proposed map would adjust the boundary of District 4, moving it northward into

territory previously occupied by District 3. This change would require that District 3 then be

rebalanced by cutting territory out of District 2 at two northern boundary points. Small adjustments

on the east side of the County would also follow in Districts 5 and 6 following a small excision in

District 3.




                                                 3
         Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 5 of 19
                                                                                                                    4




Figure 2. Shaded Regions Indicating Changes from Original Districts to Newly Proposed
Districts for Baltimore County, Maryland, March 2022.

II.     Population Equality and Deviation.

        8.       The results from a population equality standpoint are reported in Tables 1 and 2,

below. The new proposed map would bring population deviation well below the 10 percent

threshold courts usually enforce as a standard for state and local government districts1 (Brown v.

Thompson, 462 U.S. 835 (1983)). The maximum deviation would be 4.3% (District 6), with one




1
 National Conference of State Legislatures. (2020). 2010 Redistricting Deviation Table.
https://www.ncsl.org/research/redistricting/2010-ncsl-redistricting-deviation-table.aspx, accessed March 5, 2022.
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        Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 6 of 19
                                                                                                     5


district falling just 40 residents short of ideal size (District 5). Districts 2 and 4, the loci of the

concerns in this litigation, would have deviations of 3.7% and 1.9%, respectively (see Table 1).

III.    Minority Population Size

        9.      Table 2 presents data for the size and racial composition of the voting age

population of the proposed districts.

        10.     As expected, the most notable changes would occur in Districts 2 and 4. District

2 would now have a Black voting age population percentage at 41.2%.                 When non-white

population shares are added across the Black, Hispanic and Asian populations, the District 2 non-

white or minority voting age population would be estimated by the adjusted census figures at

50.9%. When the Multiracial, Biracial, Other race, Native American and Hawaiian/Pacific

Islander population shares are then added, the non-white or minority share of the population in

District 2 would be 54.2% (see Table 2). In other words, District 2 would be a solid majority-

minority district.

        11.     In District 4, the Black voting age population percentage would be reduced to

61.1%. That Black population, when added with the Hispanic and Asian vote shares, would yield

a total non-white or minority population percentage of 71.3%. When added to the Multiracial,

Biracial, Other race, Native American and Hawaiian/Pacific Islander populations, the total non-

white or minority percentage would be estimated at 75.2%.

        12.     Aside from District 4, influential non-white voting age populations (combining

Black, Asian, Latino, and other non-white categories) would also be present in District 1 (45.9%),

District 5 (29.8%), District 6 (41.9%) and District 7 (28.7%) (see Table 2).




                                                  5
         Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 7 of 19
                                                                                                                  6


        13.      The new map is closely in step with the contemporary standard current in state and

federal redistricting law to create or expand upon “influence” or crossover or “coalition” districts.2

        14.      Specifically, the proposed redistricting map bolsters District 2 as a solid crossover

district in which Black voters will enjoy support from other minority voters—with which they will

form a majority-minority district—as well as from White Democratic voters to elect their

candidates of choice.

        15.      The Supreme Court has explained that a crossover district is one in which the

relevant minority voting group makes up less than a majority of the voting-age population but is

large enough to elect the candidates of its choice with help from majority voters who cross over to

support the minority’s preferred candidate (Bartlett v. Strickland, 556 U.S. 1 (2009)).

        16.      That definition describes the proposed map’s District 2. Indeed, District 2 would

be a majority-minority district in which Black voters would not require White voter support to

elect their candidates of choice. Yet they would receive such support as well as crossover votes

from other minority groups. Additional data gathered in the last two weeks indicate that Black

candidates file and run in Baltimore County’s state senate and house seats on a regular basis, at

non-white population percentages even below 50 percent. Two African American state delegates

presently serve in the Maryland state assembly from Baltimore County districts with Black

populations below 50%. Their election reflects the area’s progress in race relations, and represents

a promising upward trend, not an accident.

        17.      The County’s proposal also balances the need to enhance Black voting power in

District 2 against the risk of endangering Black voting power in District 4 by overly-reducing the



2
 Wasserman, David. (2021). “Is it Time to Rethink Hyper-Minority Districts?” The Atlantic. September 20.
https://www.theatlantic.com/politics/archive/2021/09/it-time-rethink-hyper-minority-districts/620118/, accessed
March 5, 2022.
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          Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 8 of 19
                                                                                                       7


majority percentage there. Should the percentage be set too low in District 4, the County would

risk denying Black voters in District 4 a clear opportunity to elect their candidates of choice despite

enhancing that opportunity in District 2.

          18.   In accord with these weighty competing considerations—the need to strengthen the

crossover or coalition voting power of Black voters in District 2 while not eliminating their current

voting power in District 4—and in compliance with the Court’s order, the County’s proposed map

would solidify District 2’s status as a strong crossover district, in which the Black voting age

population is large enough to elect the candidate of its choice with help from other voters who also

support the minority’s preferred candidate (Cooper v. Harris, 137 S.Ct. 1455 (2017)). Indeed,

Proposed District 2 would have a total minority voting age population of 54.2% and a Black voting

age population set at 41.2%, compared to a white voting age population that would be reduced to

45.8% (see Table 2). The minority crossover votes alone would enable the Black voting age

population to elect its candidates of choice. But white voters, particularly the many Democrats in

the District, would also cross over to support Black-preferred candidates. Indeed, this kind of

crossover voting occurs in parts of Maryland with even lower Black voting age populations. Black

candidates have recently been elected to state assembly seats in districts with Black populations as

low as 21% (District 12, Delegate Terri L. Hill) and 30% (District 8, Delegate Carl W. Jackson),

and in adjacent Howard County, 26% (District 13, Delegate Frank Turner retired in 2018 after 24

years).

          19.   The new proposed map amplifies Black voting power and the Black voting age

population’s ability to elect candidates of their choice (including Black candidates) in District 2 to

address the Court’s finding that the Plaintiffs will likely establish a Voting Rights Act violation.




                                                  7
        Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 9 of 19
                                                                                                  8


       20.     The proposed redistricting map would also allow Black voting influence in Districts

1 and 6 along with preserving District 4’s majority-Black status and enhancing District 2’s role as

a crossover district. The Black population in District 6 would remain well above 25%, at 29.9%,

qualifying as an influence district. Even District 1’s Black voting age population percentage would

be set at 27.4%, a substantial share that in combination with other minority groups would lower

the white voting age percentage in that district to slightly less than a majority (49.9%) (see Table

2).




                                                 8
                              Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 10 of 19
                                                                                                                                                                  9


Table 1. Total Population in Baltimore County Districts from the Proposed Redistricting Map, March 2022.


                               Ideal        Population       Percent               Black or                         Two or              Am. Indian     Native
 Council        Total                                                                         Hispanic
                              District       Deviation     Deviation               African                           More     Other      & Alaska    Hawaiian
 District     Population                                                                      or Latino
                             Population     from Ideal     from Ideal   White     American                Asian      Races    Race        Native     & Other PI
         1        120,492        122,382          -1,890      -1.54%     56,164      33,331      10,511    14,036     5,455       738          227          30
         2        117,868        122,382          -4,514      -3.69%     51,940      48,710       7,749     4,737     3,839       704          165          24
         3        120,742        122,382          -1,640      -1.34%     90,597       9,088       6,706     9,174     4,473       498          156          50
         4        120,066        122,382          -2,316      -1.89%     26,606      74,844       7,763     5,543     4,346       756          174          34
         5        122,422        122,382              40       0.03%     76,048      23,156       5,937    11,267     5,256       481          238          39
         6        127,655        122,382           5,273       4.31%     64,845      40,164       8,901     7,473     5,319       659          255          39
         7        127,428        122,382           5,046       4.12%     77,695      24,844      13,967     2,481     7,012       652          741          36
     Total        856,673                                               443,895     254,137      61,534    54,711    35,700     4,488        1,956         252


                                                                                   Black or                         Two or              Am. Indian      Native
                                                            Council                African    Hispanic               More     Other      & Alaska    Hawaiian
                                                            District    White     American    or Latino   Asian      Races    Race        Native     & Other PI
                                                                   1    46.61%      27.66%       8.72%    11.65%     4.53%     0.61%        0.19%        0.02%
Ideal Population             122,382                               2    44.07%      41.33%       6.57%     4.02%     3.26%     0.60%        0.14%        0.02%
Max Deviation (±5%)          6,120                                 3    75.03%       7.53%       5.55%     7.60%     3.70%     0.41%        0.13%        0.04%
Max Deviation Range          116,263 to 128,501                    4    22.16%      62.34%       6.47%     4.62%     3.62%     0.63%        0.14%        0.03%
                                                                   5    62.12%      18.91%       4.85%     9.20%     4.29%     0.39%        0.19%        0.03%
10% Max Deviation         12,238                                   6    50.80%      31.46%       6.97%     5.85%     4.17%     0.52%        0.20%        0.03%
(difference between largest and smallest districts)                7    60.97%      19.50%      10.96%     1.95%     5.50%     0.51%        0.58%        0.03%
                                                               Total    51.82%      29.67%       7.18%     6.39%     4.17%     0.52%        0.23%        0.03%




                                                                                     9
                         Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 11 of 19
                                                                                                                                                              10


Table 2. Voting Age Population in Baltimore County Districts from the Proposed Redistricting Map, March 2022.


                           Ideal      Population        Percent               Black or                          Two or              Am. Indian     Native
 Council      Total                                                                      Hispanic
                          District     Deviation      Deviation               African                            More     Other      & Alaska    Hawaiian
 District   Population                                                                   or Latino
                         Population   from Ideal      from Ideal   White     American                Asian       Races    Race        Native     & Other PI
        1      94,254        95,950          -1,696      -1.77%     47,003      25,816       6,891    10,520      3,352       474          170          28
        2      92,191        95,950          -3,759      -3.92%     42,226      38,002       5,089     3,802      2,441       473          137          21
        3      95,081        95,950            -869      -0.91%     73,917       6,661       4,358     7,023      2,618       341          117          46
        4      93,830        95,950          -2,120      -2.21%     23,286      57,351       5,232     4,358      2,945       505          130          23
        5      96,069        95,950             119       0.12%     63,762      16,245       3,803     8,569      3,131       332          196          31
        6     102,122        95,950           6,172       6.43%     55,296      30,545       6,221     6,054      3,325       439          217          25
        7      98,098        95,950           2,148       2.24%     64,708      17,605       8,637     1,920      4,177       409          613          29
    Total     671,645                                              370,198     192,225      40,231    42,246     21,989     2,973        1,580         203




                                                                              Black or                         Two or               Am Indian      Native
                                                       Council                African    Hispanic              More       Other      & Alaska    Hawaiian
                                                       District    White     American    or Latino   Asian     Races      Race        Native     & Other PI

                                                              1    49.87%      27.39%       7.31%    11.16%      3.56%     0.50%        0.18%        0.03%
Ideal VA Population      95,950                               2    45.80%      41.22%       5.52%     4.12%      2.65%     0.51%        0.15%        0.02%
Max Deviation (±5%)      4,798                                3    77.74%       7.01%       4.58%     7.39%      2.75%     0.36%        0.12%        0.05%
Max Deviation Range      91,192 to 100,748                    4    24.82%      61.12%       5.58%     4.64%      3.14%     0.54%        0.14%        0.02%
                                                              5    66.37%      16.91%       3.96%     8.92%      3.26%     0.35%        0.20%        0.03%
                                                              6    54.15%      29.91%       6.09%     5.93%      3.26%     0.43%        0.21%        0.02%
                                                              7    65.96%      17.95%       8.80%     1.96%      4.26%     0.42%        0.62%        0.03%
                                                          Total    55.12%      28.62%       5.99%     6.29%      3.27%     0.44%        0.24%        0.03%




                                                                               10
         Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 12 of 19
                                                                                                 11


IV.      Compliance with Traditional Redistricting Principles

         21.   The proposed redistricting map creates meaningful opportunity for Black voters in

District 2 and across the County while also complying with traditional redistricting standards, thus

reflecting the Councilmembers’ use of their considered policy choices in redrawing the district

lines.

         22.   In crafting the proposed redistricting map, the Council remained mindful of the

need to preserve neighborhoods and localities. The number of split precincts would be held to just

six, and the number of split census places would be reduced to 12. Catonsville and Arbutus would

remain together in District 1, in contrast to the NAACP’s proposed Map 1. In all cases, when

jurisdictions would be divided, it would be along familiar lines, following major highways and

streets that create boundaries recognizable to residents. For instance, Towson would be divided

into eastern and western parcels by Charles Street (Route 139). Owings Mills would be divided

by Reisterstown Road (Route 140). Randallstown would be divided into “lower” (southeast) and

“upper” (northwest) neighborhoods by Winands and McDonough Roads. In all cases, the County

constituted these proposed divisions by following well-defined landmarks in the built

environment.

         23.   The County Council also continued to follow redistricting precedent in striving to

maintain the continuity of representation that sustains the bonds of familiarity and trust that have

formed between voters and their council members. Accordingly, core retention, or the carryover

of constituents from the 2010 map to the new map would average 82 percent (see Table 3). District

2 would maintain an estimated 82 percent of its previous constituents. District 4 would maintain

84 percent of its previous constituents. The remaining districts would remain largely consistent

with the retention figures they would have had under the original map.


                                                11
        Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 13 of 19
                                                                                                12


        24.    Comparing the original adopted map to the new proposed map indicates where most

of the change would occur. District 2 would lose about 19 percent of the constituency it originally

had, while District 4 would lose about 17 percent of its population. District 3 would be altered,

losing about 7 percent from the Council’s original plan—its lighter population density would

provide somewhat of a buffer against sweeping change. Reflecting the addition of the small sliver

of District 1 that would be added to the new District 2 (indicated above), District 1’s originally

planned constituency would be marginally reduced.        Districts 5 and 6 would be changed by

similarly small degrees. District 7, in the far southeast, would remain unchanged from the original

plan.

        25.    The compactness scores in the original map and new proposal are largely

unchanged (see Table 4). Proposed Districts 4 and 2 would be slightly less compact. District 3

would be somewhat more compact.




                                                12
            Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 14 of 19
                                                                                                         13


Table 3. Core Retention Across Redistricting Plans Showing Continuity in Representation
                        2000 to         2010 to         2010 to       2020 Original      2010 to        2010 to
                          2010           2020          Proposed        to Proposed      NAACP 1        NAACP 5
                                                          Map              Map
District 1                   0.999         1.000              0.985           0.985           0.564         0.949
District 2                   0.938         0.988              0.810           0.810           0.749         0.548
District 3                   0.888         0.988              0.955           0.930           0.788         0.828
District 4                   0.950         1.000              0.832           0.832           0.548         0.595
District 5                   0.765         0.510              0.563           0.976           0.521         0.542
District 6                   0.713         0.556              0.582           0.973           0.720         0.420
District 7                   0.904         1.000              0.998           1.000           1.000         0.924
Average                      0.880         0.863              0.818           0.929           0.699         0.687
Cell entries show proportion of the residents in the district from the comparison plan (previous decade, or
previous map) carried over to the new or proposed plan. Estimates use adjusted 2020 block data.




                 Table 4. Compactness Tests Original Map and Proposed Map
                 Districts            Original Districts              Proposed Map
                                   PPTest            STest       PPTest            STest
                 District 1              0.46             0.68          0.48             0.69
                 District 2              0.42             0.65          0.37             0.61
                 District 3              0.54             0.74          0.58             0.76
                 District 4              0.35             0.59          0.33             0.57
                 District 5              0.14             0.38          0.14             0.37
                 District 6              0.29             0.54          0.27             0.52
                 District 7              0.07             0.26          0.07             0.26
                 Average                 0.32             0.55          0.32            0.54
                 PPtest=Polsby Popper Test; STest=Schwartzberg Test. In both cases, larger
                 numbers indicate more compact districts.




                                                       13
        Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 15 of 19
                                                                                                             14




V. Ecological Inference Analysis

        26.      As I testified at the Court’s hearing of February 15, 2022, although ecological

inference analysis is a widely used method in court cases that estimate polarized or bloc voting, its

use is not methodologically sound in many cases. Like many statistical methods, this technique

requires that the researcher make assumptions about the data, some of which are not justified, and

do not correspond to reality.

        27.      First of all, it involves the use of precinct level or block level data instead of

observations of individuals. So instead of individual voters casting ballots for Republicans,

Democrats, Black or White candidates, ecological regression takes as its observations aggregated

sets of voters, as collected in voter precincts or voter tabulation districts (VTDs). The problem is

that what is true of a precinct, city block, zip code, neighborhood, or county, might not be true of

an individual. Assuming that they are the same is called the “ecological fallacy.” What is true of

aggregates might not be true of individuals.3

        28.      In one classic study cited by Robinson,4 the relationship between foreign birth and

English literacy was studied across states. The researcher found that as the percentage of foreign-

born residents increased, the literacy rate (in English) increased. But it’s fallacious to conclude

from this study that the foreign-born are highly literate, or more literate than the native born. The

actual correlation for individuals was negative: immigrants were less literate in English than

natives, on average. The ecological analysis across the aggregate units was flat wrong.                     But




3
 King, Gary (1997). A Solution to the Ecological Inference Problem. Princeton, NJ: Princeton University Press.
4
 Robinson W S (1950). Ecological correlations and the behavior of individuals. American Sociological Review 15:
351–57.
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        Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 16 of 19
                                                                                                                 15


because immigrants tend to live in states where the natives are highly literate, the ecological data

gave a totally false impression.5

        29.      Similarly, we might have observed in the Old South during Jim Crow that as Black

concentration across precincts rises, turnout rates also rise.6 It would be a mistake to conclude

that this is a sure sign that Blacks voted in higher percentages than others in that era. The truth is

that in locations with high black concentration throughout these states, the white voters were

especially mobilized to turn out to vote. So the high turnout in areas of high Black concentration

resulted precisely because the non-Black voters in those areas were highly motivated to participate,

not because Black voters were voting at high rates. The ecological data told exactly the opposite

story of what was true at the individual level. The ecological analysis was not only wrong, it gave

the exact opposite impression than the facts observed in individual behavior. Using ecological

regression analysis can not only be misleading, but completely wrong – as in the opposite of what

is true. At bottom, this is because the ecological observations in the analysis do not contain enough

information to accurately describe individual behavior.7

        30.      This is clearly a danger when ecological regression analysis is used to study voter

polarization. In this approach, the percentage of white voters in a precinct is used to predict the

percentage for a particular candidate (say, a Republican or Democrat, or in a Democratic primary

a Black Democrat vs a white Democrat). But the critical assumption that ecological regression

makes is that the group’s voting tendency does not change across the precincts. David Freedman,

a well-known UC-Berkeley statistician, referred to this as the “constancy assumption,” that voting



5
  Freedman, David A. (1999). Ecological inference and the ecological fallacy. International Encyclopedia of the
social & Behavioral Sciences, 6(4027-4030), 1-7.
6
  Key, Jr. V.O. (1949). Southern Politics in State and Nation. New York, NY: Alfred A. Knopf.
7
  Judge, G. G., Miller, D. J., & Cho, W. K. (2003). An information theoretic approach to ecological estimation and
inference. Berkeley, CA: UC Berkeley Department of Agriculture and Resource Economics, Paper 946.
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        Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 17 of 19
                                                                                                             16


preferences within racial and ethnic groups do not systematically depend on the ethnic/racial

makeup of the precinct of residence.8 If in one precinct, the white voting age percentage is 8%

and, in another precinct, the white percentage is 69%, we cannot assume that these very different

sized groupings of white voters, situated in different precincts within the county, have a similar

propensity to vote for the Black (or white) candidate. Making that assumption leads to great

exaggerations in the extent of political polarization between blocs of voters, leading jurists to

conclude that there is far greater racial polarization than exists.

        31.      For example, ecological inference analysis will often appear to show a greater

degree of racial polarization than there actually is in general elections, i.e., in elections that pit a

Democrat against a Republican. Because the majority of Republican voters are white, and the

majority of Black voters tend to vote for Democratic candidates, such elections will necessarily

show as racially polarized. For this reason, it is not surprising that Dr. Barreto’s analysis showed

the 2014 gubernatorial election between Larry Hogan and Anthony Brown and the 2018

gubernatorial election between Larry Hogan and Ben Jealous as racially polarized. In reality, when

you control for party identification or party registration in the precincts, the level of polarization

or the extent of the gap in racial preference will be dramatically reduced. Thus, general elections

are not particularly good examples for showing racial polarization because of the contamination

of party affiliation because an ecological inference analysis cannot differentiate between racial

preference and partisan division. In other words, if you were to control for the partisan component,

the gap between the white and the Black preferences would surely shrink.




8
  Freedman, David A. (1999). Ecological inference and the ecological fallacy. International Encyclopedia of the
social & Behavioral Sciences, 6(4027-4030), 1-7; Goodman, Leo (1953). Ecological regression and the behavior of
individuals. American Sociological Review 18: 663–64; Goodman, Leo (1959). Some alternatives to ecological
correlation. American Journal of Sociology 64: 610–25.
                                                      16
        Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 18 of 19
                                                                                                                 17


        32.      For a variety of reasons, it may well be that the percentage voting for the Black

Council candidate in the white majority area is lower than it is for those in the white minority area.

Alternatively, the white voters in the white minority area may not turn out to vote in high

percentages at all, whereas those in the white majority area do (or vice versa). Perhaps the white

voters living in the white minority area, seeing more information about the Black candidate, will

be warmer to the idea of voting for that Black candidate than those in the white majority area. The

white voters living in racially integrated areas may also be more open to the idea of voting for

Black candidates, as constitutional scholar Pamela Karlan has suggested.9 It’s surely mistaken to

simply assume that the two white voter groups, residing in very different social contexts and

circumstances, will vote at the same rate, and for the same candidate. That is something a

researcher should want to show through empirical investigation, not assumption. And in any event,

we would not want to use a methodology that makes such a big assumption, because that involves

assuming something about voters that may not be true, e.g., that a bloc of voters will react the same

way to a candidate on the ballot no matter which precinct they live in across a large and

heterogeneous area. There are many reasons for why this assumption would not hold for Baltimore

County voters, white or non-white. The sheer expanse of the County, and the diversity of voters

(and socioeconomic circumstances) within it, predict otherwise.

        33.      As Freedman has indicated, aggregate data at the precinct level are used to gauge

polarization only because they are easier to obtain than regular surveys of individual voters. But

the precinct level observations do not contain sufficient information to make confident inferences

about individual behavior. Researchers will continue to rely on aggregate data because it is often




9
 Karlan, P. S. (1989). Maps and Misreadings: The role of geographic compactness in racial vote dilution litigation.
Harv. CR-CLL Rev., 24, 173.
                                                        17
       Case 1:21-cv-03232-LKG Document 57-6 Filed 03/08/22 Page 19 of 19
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the only thing they have, but the problems with these data are not going to go away. And the flaws

in ecological regression analysis will continue to exaggerate the extent of polarization in voting

and mislead jurists.


VI.    Conclusion

        33.    The Council’s proposed redistricting map would bolster District 2 into a

strengthened crossover district in which the Black voting age population will be able, with support

from other minority voters and crossover White Democratic voters, to elect candidates of choice,

including Black candidates. In accomplishing this goal, the new map complies with the Court’s

directive to create such a district and complies with other traditional redistricting requirements,

while reflecting the County Council’s legislative policy choices.




Executed on March 8, 2022.




Dr. James G. Gimpel, PhD.




                                                18
